The office of the Attorney General is in receipt of your request for an opinion in which you asked the following question: Does the Motorpool Division of the Board of Public Affairs have the authority to purchase pickups and vans for assignment to other state agencies ? The State Motorpool is created under the direction of the State Board of Public Affairs by the provisions of 47 O.S. 159.1 [47-159.1] (1971). This enactment provides in part as follows: The State Motorpool Division shall control and regulate the acquisition, lease, operation, maintenance, repair and disposal of such passenger motor vehicles as, shall be necessary in the conduct of the State's business by the various agencies and departments of the State, . . .  47 O.S. 159.2 [47-159.2] defines a "passenger motor vehicle" to "include supplies, parts, and equipment for the operation, maintenance or repair of such motor vehicle units." The term is not further defined to show whether it includes pickups or vans within its parameters.  However, "passenger motor vehicle" may be further defined by determining its commonly accepted meaning to arrive at the legislature's intent. See Stemmons, Inc. v. Universal CIT Credit Corp. 301 P.2d 212 (Okl. 1956).  Pickups are commonly accepted as utility vehicles used primarily to carry bulk items too large or numerous for carriage by standard automobiles. Passenger carriage would be incidental to this primary function as a utility vehicle. Vans may be designed as "passenger" and "non passenger" vehicles depending upon their primary function. If a van is primarily designed to carry passengers and only incidentally as a cargo or recreational vehicle, then such van would be a "passenger motor vehicle" as contemplated by statute.  The provisions of 47 O.S. 159.3 [47-159.3] (1971) sets forth the proper procedure in the use of "passenger motor vehicles" by a respective state agency with the following language: 47 O.S. 159.3 [47-159.3] Acquisition of vehicles-transfers-assignment of transportation.  The State Motorpool Division shall have the authority to acquire passenger motor vehicles, except those purchased, leased, or transferred to the department of Public Safety, by purchase, lease or transfer, and all motor vehicles transferred to or purchased for said division shall become a motorpool from which, upon requisition and proper showing to the division of need and use for official state business there may be assigned suitable transportation, either on a temporary or permanent basis, to any state agency or department. Provided, that all leases and purchases made shall be by competitive bids under the Central Purchasing Act.  It is, therefore, the opinion of the Attorney General that the Motorpool Division may not purchase pickups or vans not primarily designed to function as passenger motor vehicles. However, the Motorpool Division is authorized to purchase vans that are designed for use as passenger motor vehicles for assignment to respective state agencies upon a determination of need.  (JOHNNY J. AKINS) (ksg)